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 7 United States of America
 8

 9                               IN THE UNITED STATES DISTRICT COURT

10                                  EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                           CASE NO. 2:16-CR-0239 MCE
12
                                  Plaintiff,             STIPULATION REGARDING EXCLUDABLE
13                                                       TIME PERIODS UNDER SPEEDY TRIAL ACT;
                            v.                           ORDER
14
     JOHN BREWER, and                                    DATE: December 14, 2017
15   LORAINE DIXON                                       TIME: 10:00 a.m.
                                                         COURT: Hon. Morrison C. England, Jr.
16                                Defendants.
17
18                                               STIPULATION

19         1.       By previous order, this matter was set for status on December 14, 2017.

20         2.       By this stipulation, defendants now move to continue the status conference until January

21 18, 2018, and to exclude time between December 14, 2017, and January 18, 2018, under Local Code T4.
22         3.       The parties agree and stipulate, and request that the Court find the following:

23                  a)     The government has represented that the discovery associated with this case

24         includes business records and documents, including emails, audio recording of interviews, and

25         government records. To date, the government has produced discovery on hard drives to the

26         defense wherein the digital evidence is comprised of over 100,000 separate images.

27                  b)     Counsel for defendants desire additional time review the discovery produced by

28         the government, conduct additional investigation, and discuss the case with their respective

      STIPULATION RE: SPEEDY TRIAL ACT; ORDER            1
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 1        clients.

 2                   c)   Counsel for defendants believe that failure to grant the above-requested

 3        continuance would deny counsel the reasonable time necessary for effective preparation, taking

 4        into account the exercise of due diligence.

 5                   d)   The government does not object to the continuance.

 6                   e)   Based on the above-stated findings, the ends of justice served by continuing the

 7        case as requested outweigh the interest of the public and the defendant in a trial within the

 8        original date prescribed by the Speedy Trial Act.

 9                   f)   For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

10        et seq., within which trial must commence, the time period of December 14, 2017 to January 18,

11        2018, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

12        T4] because it results from a continuance granted by the Court at defendants’ request on the basis

13        of the Court’s finding that the ends of justice served by taking such action outweigh the best

14        interest of the public and the defendant in a speedy trial.

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     STIPULATION RE: SPEEDY TRIAL ACT; ORDER            2
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 1          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
 3 must commence.
 4          IT IS SO STIPULATED.

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     Dated: December 12, 2017                                  PHILLIP A. TALBERT
 6                                                             United States Attorney
 7
                                                               /s/ JARED C. DOLAN
 8                                                             JARED C. DOLAN
                                                               Assistant United States Attorney
 9
10
     Dated: December 12, 2017                                  /s/ MICHAEL
11                                                             SCARBOROUGH
                                                               MICHAEL SCARBOROUGH
12
                                                               Counsel for Defendant
13                                                             JOHN BREWER

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15
     Dated: December 12, 2017                                  /s/ JEROME PRICE
16                                                             JEROME PRICE
                                                               Counsel for Defendant
17                                                             LORAINE DIXON
18
19                                                     ORDER
20          IT IS SO ORDERED.
21 Dated: January 3, 2018
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      STIPULATION RE: SPEEDY TRIAL ACT; ORDER              3
